

Smith v  City of New York (2022 NY Slip Op 00830)





Smith v  City of New York


2022 NY Slip Op 00830


Decided on February 08, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 08, 2022

Before: Manzanet-Daniels, J.P., Oing, González, Shulman, Higgitt, JJ. 


Index No. 26623/20E Appeal No. 15269 Case No. 2021-02797 

[*1]Ana J. Smith, Plaintiff-Respondent,
vThe City of New York et al., Defendants, Esther Zarembski, Defendant-Appellant.


Perry, Van Etten, Rozanski &amp; Kutner, LLP, Melville (Megan R. Pollastro of counsel), for appellant.



Order, Supreme Court, Bronx County (Mitchell J. Danziger, J.), entered April 6, 2021, which denied defendant Esther Zarembski's motion to preclude plaintiff from offering evidence at trial with respect to any of the particulars set forth in defendant's demand for a verified bill of particulars, or, in the alternative, to compel plaintiff to provide a bill of particulars by a date certain, unanimously affirmed, without costs.
In response to defendant's demand, plaintiff furnished a bill of particulars that contained an adequate description of the date and approximate time of the alleged occurrence, the location of the accident, the acts or omissions of defendant constituting negligence, and the manner in which defendant obtained notice of the dangerous
condition (see CPLR 3043[a][1]-[5], [c]; see e.g. Harris v Ariel Transp. Corp., 37 AD3d 308 [1st Dept 2007]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 8, 2022








